Case 14-10867-BLS   Doc 1914-3   Filed 10/24/18   Page 1 of 7




                    EXHIBIT 3
                                                               Case 14-10867-BLS                                            Doc 1914-3                                    Filed 10/24/18                 Page 2 of 7
     :D IHlANJilN §Hl!lPI~fJN(l2 Bil L OF LADiNG
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         GWBAL SOURCIN G Li'D                                                                                                       HKG3G730B5QO                             Ci A         1 03931 0 37                                         Y
    IF FOOK CHEONG BUI LD ING, 63 HOI
                                                                                                                                     EXPORT REFERENCES
    JEN ROAD I                  I{"wON TONG HONG KONG
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    ) NS iG"IEE(CtiMFl E1E NAME MJ DAD C R E SSII~O N-Nmw..Bli: lll-JlESS COf! StGNE D TO CRD',!l                                   FORWARD!.'JGAGEN T !:fEFt' I'ENGES (COMPlETr::. NAME A."JD AOOR ESS)
    )LDYlATER CREEK MERCHANuISING &                                                                                                 DAMCO A/S C/O APM GLOBAL LOGISTICS
    )GIST I CS I NC                                                                                                                  (HONG KONG ) CO.
    ~E COLDWATER CREEK
    U V.8 SANDPOINT ,ID El 386 4
    nT:EiD ST~_T ES

    )"fiFY ? .... RTY(COMP U: TE MAiU NG ADDHESS)                                                                                   POINT NlO COU NI' RY OF ORIGIN
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    ?R!NGPI ELD G]l..RDE NS tmITED STATES                                                                                        23 0 79 I NTERNAT IONAL AI H-PORT CENTER
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   E R "~      PLACE OF Rt::C Ei P T'                        =::J:~IAGE 8Y '                                                     718- 425 - 1045 (HI CI-L"1.RD V ITJI.--LE: )
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  ):                                                                                 :CPO#51006 811 07
  UP TO                                                                              ;STYLE# 4 01 9 954
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 IIPMENI'                                                                                  :30 CARTON
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 AANO.OFPACKAG f..S      1X40ST CON'l'l'...n.TER (S)                                   ONLY
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                                              RATED ,dS                      RAT E                        ?ER                  ?RE?!.ID                                      CO~L ECT      __      LADEN ON BOA-lID 'i'HE
 -' REIGHT AND CHARGES
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,XEC_ R/I, Te_
-OTAl : 3,662.000 HKD
 :IfF, f.ook Cheong Building, 63 HoiYuen Road, Kwun Tong, [<owloon, Hong!<ong
                                  Case 14-10867-BLS                       Doc 1914-3                   Filed 10/24/18                            Page 3 of 7
 Tel: 852· 1.152 6000
 Fax: 8~2· 2]51 1155



 Invoice

 Invoice of         I.adies Bottom                                                                                              Invoice No.                     : 5140034
 Shipped Pe r       COSCO JAPAN V.0032E                 Ship Mode         Oy   Sea                                              Invoice Date                    : 14-Jan-2014
 From               HOllg Kong                                                                                                  Act. Sh ip Date                 : 06-1an-2014
 To                 USA
 f o r Account & Hisk of Me sse rs     Coldwater (reek Merchandisi ng & logistics Inc
                                       One Coldwater Creek Drive, Sand point, ID 8386-1, USA.




                                                                                                                                             UnIt Price               Arn o unt
 Marks and number                              Description                                  Quantlt'y                                        (USD)                    (Us D)


                                                                                                                                             FOB Hong Kong
                                               Custorne r PO No. : 51006703 98
                                               Ladi es' 73% Co tton 27% Elaste rell-P Woven De nim lean
SHIP TO PO STAL CODE                           Style No : 4021089
CAHRI ER                                                 6 Cartons         Qu antity:                    140 PCS                                              13.15               1,841.00
SCIIC :
SHIPMENT NUMBER:
QUANTITY                                       CU st o mer PO No. : 5100670398
PONBRII:                                       ladies' 73% Cotton 27%         E l asterell ~ P   Woven Denim Jean
ITEMNOR :                                      Sty le No : 4021089
PREPACK:                                                 S Cartons         Quantity:                         69 PCS                                           13.15                 90"1.35
TICKETED :
sSCC

                                               Customer PO No. : 5 100670398
                                               ladie s' 73% Cotto n 27% E!asterell-P Wove n Deni m Jea n
                                               Style No : 4021089
                                                         4 Cartons        Quantity:                      51     pes                                           14.86                 757.86




                                               Cu stomer PO No. : 5100670398
                                               ladies' 73% Cotton 27% Elasterell-P Woven Denim lean
                                               Style No : 4011089
                                                        4 Ca rtons        Quantity:                      55     pes                                           13.15                 723.25


___________________________________________________________ J((~~J2~}?!~---------------------------jL---------- __________ _
                                     r otal:           19 Ca rtons         Qua ntitj:                   315 PCS                                                                   4,1 2.9.4G

rota l :          SIIY USO FOUR THOUSAN D TWO HUN DRED TWENTY NI NE AND FOHTY SI X CENTsOiiJ(,r"


Du e Da te:       17-Fe b- 2014
Paym ent Term : Open account 45 days after Cargo Rece ipt Dat e by TIT
13ank:            lPM o rgan Chase Ba nk, New York
                  349 5th Aven ue, New York, NYI00 18 (rO!     Ale Wells Fa rgo Century )
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B/ 1. No:I'll sCH I(G3G7207 400                                       f-AhC;O If                             " l SE: FZViCE 3
Cal-go Recelve Date:JAN 3 20 14                                                Df: -                           "i-20 39
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                                                                          .Ji""Wf                                 ·-:1f11~E:.      T'-
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                                 Case 14-10867-BLS                     Doc 1914-3              Filed 10/24/18          Page 4 of 7
 OKLTA GARMENT FACTORY (SHANTOU) CO LTD
l ·ST H rLOO R, NO.2 VANT IIi ItO AD. SIIENGPING INDUSTRI AL   I~T AT E.   JTNPING DISTHJCT. SHANTOU CIT V,O -m,M .

                                                        PACKING SLIP
                                                                  I 14WUL

'· IlOM                                                                                              TO:

COMj'ANV: llIeLTA GAItM ((NT FA<''-TOItV (SHANTOlJ) C O 1; 1'1)                                      COLOWATER CREEK PARKERSBURG

AlJIlIIESS: 3-5TH 1'1,0011, NO.2 VANI-m ROAn, SIIENGrlNG INDUSTIIIAL !;;STATE 601 COLDWATER CREEK DRIVE                                                 I
PHONE:
                   JINPING IJIS'I"IlI C I', SHANTDU C ITY, C HINA

                   (886)0754 - 82550028
                                                                                                     MINERAL WELLS , WV 26120 USA
                                                                                                                                                        I·
SIIII'METHOD:                  Occ:m                                                                 POU: 5100670398                                I
SIIII' DATIi::                                                                                     TOTAL CARTONS IN po:               G   CTNS
TRUC K LlNEI'IIOH:                                                                                  MEAS: 61XJ8X29CM
                                                                                                                                                    I
INVOIC~~ :         '1'140002                                                                                61XJ8XI5 eM


          (
                                                 Inscrt Sizes (if ;Ippli~. ablc) and Quantities
                      ewc                                                                             res             TrLQTY     G.W.       N.W.
      80"#            Itcm#        COLOR           r,     H        10       12     14    1(,         ICTN   CTNS        (res)   (KCS)      (KCS)
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                                 DlmrCOVE
  2           2     4021089         ",. "OJ              14                                            14     1           14    8.20        7.20
                                 OI~El'COVE
  3
                  - 4021089
              3                     ""c,                          25                                  25      I           25    14.60      13.30
                                OEIWeOVIC
  4           4     4021089         WA"'"                                   30                        30      I           30    17.50      16.20
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  5           5     4021089         ,~    • en                                    30                  30      I           30    17.90      16.60
                                lJu:lCr COVIC
  6           6     4021089                                                              31           31      I          31     19.20      17.90
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Quantily Totals                                   10     14       25       30     30     31                   6                           ~'-;.20
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                                    Case 14-10867-BLS                    Doc 1914-3       Filed 10/24/18             Page 5 of 7
 DELTA GARMENT FACTORY (SHANTO U) CO LTD
 1-5"1"11 FLo o n , NO 2 YANf-m RO AD, :11IENGPING IN OUSTIHAL ESTATe, JINPING DI STRI CT, SII AN'I OU ClTY,CH!NA.

                                                          PACKING SLIP
                                                                    I HUUUL

I' ROM                                                                                             TO:

CO MPANY: DI';I:I'A GARMENT FACroRY (SIIANTOIJ)                     co LTD                         COLDWATER CREEK PARKERSBURG

AOIJIII,:SS: J·5TH FLOOR, NO.2 YANII E ROAD, SHENGI'ING INDUSTlUA L r,STATE 601 COLDWATER CREEK DRIVE

                     JINPING DISTRICT, SHANTOU CITY, CHINA                                         MINERAL WELLS, WV 26120 USA                      I
PIIO NIC:            (886)0754 . 82550028

Sill I' MKI'1IOO:                Ocean                                                             1'0#: 5100670198

SIIII' DATI';:                                                                                  TOTAL CAnTONS IN PO:                5      C I'NS

TRUCK UNII 1'!lO#:                                                                                MIcAS: GIX18X29 CM

INVOICE:             1'140002                                                                             GIXJ8X15 CM

       _.._-_.
            !                                    In.'icrf Sizc.,-; (if 31          and

                       cwe                                                                          res              ',' rLQTY    G.W.       N.W.
        0 •• #         Hcm#          1'01.0"        1'4    1'10     1'12    PI4   1'16             ICTN   ICTNS          rrc.~)   (KC.s)    (KGS)
                                   DEEI' COVE
  7              7    4021089         UlHU          I2                                               12       I           12      6.40      5.40
                                   DEEP COVI,
 Jl.             8    4021089        UI A en                13                                       13      I            13      7.40      6.40

  9              9    4021089      DE~~A~~VE                         16                              16      I            16      9.90      8.60

  III           10    4021089      IH(~A~~VE                                15                       15      1            15      8.90      7.90
                                  DEEP COVE
  II            1\    4021089                                                     13                 13      I            13      8.00      7.00
                                    '''' .en



.Quantity Totals                                   12       J3      16      15    13                         5                    'O~      35.30


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                                         Case 14-10867-BLS                      Doc 1914-3         Filed 10/24/18                      Page 6 of 7
 DELTA GARMENT FACTORY (SHANTOU) CO LTD
J~ 5TH FtOrJR . NO 2 YANHE ROAD, S ll HNGriNG INDUSTRI AL ESTAT H.JINJ'I NG DIST HICT, SHANTOU CITY,CHINA


                                                                   PACKING SLIT'
                                                                           ,14UUtfL

FROM                                                                                                          TO:

COMPANY:              D~:I : I'A   GAIlMENT l'AC,(,OIlY (SHANTOIJ) CO l:rn                                     COLDWATER CREEK PARKERSBURG

ADDRESS: 3-5'1'11 FLOOR, NO,2 YANflE nOAD, SH IlNGI'ING INDIJSTItTAL ESTATE 601 COLDWATER CREEK DRIVE
                                                                                                                                                                                       I
                      JINl'lNG D1STIUCT, SHANTO U CITY, CHINA                                                  MINERAL WELLS, WV 26120 USA

plioI'm:              (886)0754 - 82550028
                                                                                                                                                                                       I·
SHIP    ~'mTIIOD :                     Ocean                                                                  ro ~:   5100670398
                                                                                                                                                                                       I
SHII' [)A1Tt.:                         2-Jml-14                                                          TOTAL CAnTONS IN 1'0:                                   4         CTNS
                                                                                                                                                                                       I
TIWCK L.IN!!: I'RON:                                                                                          MICAS: 61X38X29C M

INVOICE:              '1'140002                                                                                       61X38Xl5 eM

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                                                            Illsert Sizes (if aplJlicablc) :llld QUAntities

                          ewe                                                                                  l'es                  HI. Q'I'Y              G,W,               N.W.
      110.#               It •.m#         COLOR              WI8 W20 W22                                       ICIN   eTNS             (I'e s)             (KCS)              (KeS)
                                        DlClcr COV!!:
 12              12     4021089                               26                                                26      I               26                 17.00              15.70
                                           \AlA"'"
                                        OIlEr COVE
 13              JJ     4021089                               4                                                 4       I                4                 3,40                2.40
                                           Uf . " ...
                                        D!!:EI' COVE
 14              14     4021089            \JI) , , , ...            II                                         II      I               II                 8.10                7. 10
                                        ORr':I' COVE
 IS              IS     4021089            '"    ,~u
                                                                           10                                   III     I               10                 7.60                6.60



Quantity Tolnls                                              30     II     10                                          4                51                                   31.80


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                                    Case 14-10867-BLS                     Doc 1914-3               Filed 10/24/18                 Page 7 of 7
    DELTA GARMENT FACTORY (SHANTOlJ) CO LTD
l -r l'H FLOOR. NO 2 Y ANI-IE ROAD, S Hl~ N G PI NG rNDUS'r RIAI, EST AT !!. JINIlI NG I)!STn l(:T, SI [ANTO U e rr " ,CIII NA

                                                              P ACKlNG SLI1)
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FROM                                                                                                          TO:

COMI'ANv: IJI!;[,I'A GARM ENT FAC roRV (SIlANTOtJ) CO LTD                                                     COLDWATER CREEK PARKERSI3URG

AIlDR ESS: 3-5TII F LO On, NO.2 vANII E nOAD, SlmNGplNG INIlIJSTJUA)'ESTAm                                    601 COLDWATER CREEK DRIVE

                     ,IlNI'ING DISTRICT, SIIANTOU Cl'fV, CIIINA                                               MINERAL WELLS, WV 26120 USA

(lHON[~ :            (8S6)07S4 - 825501128

SIIIP MKJ'HOO:                    Ocean                                                                       1'0#: 5100(,70398
SHIP DATE:                        2-J:1Il-14                                                              TOTAL CARTONS IN 1' 0:                             c r NS
nWCK LINE pRON:                                                                                             MilAS: 61X38X29CM

INVOICE:             T140002                                                                                          (,lX38X15 CM

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                                                      lusul Sizes (if nl!I!!icabJc) nlld QU:HltitiCS

                       cwe                                                                                     !'es               Tl'LQTY           (;.w.      N.W.
         Doxll         Hemll         COLOR              LlO ),12 ),14 LI6                                     fc rN   CTN~            (lIeS)        (KCS)     (I(GS)
                                   DEEP COVE
    16          16    4021089                            II                                                     II        I            11           7. 10     6.10
                                       '" 'cu
                                   DEEP COVE
    17          17    4021089          m .'cu                    14                                             14       I             14           9.00      8.00
                                   DEEPCOYJl
    18          18    4021089          no., cu                           14                                     14       I             14           9.20      8.20
                                   DEEP COVE
    19          19    4021089                  c.                               16                              16       I             Iii          II. 00    9.70
                                       "
-
Quanfify TotRls                                         II      14      14      16                                       4       ~ RV JlliIi!~ ~2.00

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